                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09CR47-3




UNITED STATES OF AMERICA,                                 )
                                                          )
Vs.                                                       )
                                                          )              ORDER
FRANK EDWARD WHITLOCK.                                    )
                                                          )
_____________________________________                     )

       THIS CAUSE coming on to be heard and being heard before the undersigned at the

close of a Rule 11 proceeding that was held before this court on August 21, 2009. It

appearing to the court at the call of this matter on for hearing that the defendant was present

with his counsel, Ronald E. True, and the government was present and represented through

Assistant United States Attorney Donald Gast. From the arguments of counsel for the

defendant and the argument of the Assistant United States Attorney and the records in this

cause, the court makes the following findings:

       Findings.     On June 2, 2009, a bill of indictment was issued charging the defendant

with conspiracy to manufacture and possess with intent to distribute methamphetamine in

violation of Title 21 U.S.C. § 841(a)(1) and 846. On August 21, 2009, the undersigned held

an inquiry, pursuant to Rule 11 of the Federal Rules of Criminal Procedure and accepted a

plea of guilty of the defendant to that charge. At the end of the Rule 11 proceeding, the court

was presented with the issue of whether or not the defendant should now be detained,

pursuant to 18 U.S.C. §3143(a)(2).



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       Discussion. 18 U.S.C. §3143(a)(2) provides as follows:

       (2)    The judicial officer shall order that a person who has been found guilty
              of an offense in a case described in subparagraph (A),(B), or (C) of
              subsection (f)(1) of section 3142 and is awaiting imposition or
              execution of sentence be detained unless ----

              (A)(I) the judicial officer finds there is a substantial likelihood
              that a motion for acquittal or new trial will be granted; or

              (ii) an attorney for the Government has recommended that no
              sentence of imprisonment be imposed on the person; or

              (B) the judicial officer finds by clear and convincing evidence
              that the person is not likely to flee or pose a danger to any other
              person or the community.

       From an examination of the records in this cause, it appears that the defendant has

now entered a plea of guilty on August 21, 2009, to conspiracy to violate 21 U.S.C. §

841(a)(1). That crime is one of the crimes that is referenced under 18 U.S.C. § 3142(f)(1).

The undersigned has made an inquiry of Mr. Gast as to whether or not there was going to be

a recommendation that no sentence of imprisonment be imposed upon the defendant. Mr.

Gast advised the court that such a recommendation could not be made in this matter. As a

result, the undersigned cannot find there is a substantial likelihood that a motion for acquittal

or new trial will be granted or that an attorney for the government has recommended that no

sentence of imprisonment be imposed upon the defendant. It would thus appear, and the

court is of the opinion, that the court is required to apply the factors as set forth under 18

U.S.C. § 3143(a)(2), which require the detention of the defendant.




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                                         ORDER

       IT IS THEREFORE ORDERED that the terms and conditions of pretrial release in

this matter are hereby REVOKED and it is ORDERED the defendant be detained pending

further proceedings in this matter.




                                            Signed: August 28, 2009




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